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                                                                                                                  Final Claims Register
                                                                                                                      Sorted Alphabetically


    Schedule Claim Claim Date                                                                                                   Total Current Unliquidated Current Admin Priority Current Secured Claim Current Priority Claim Current General Unsecured
     Number Number    Filed       Debtor       Case No.                              Creditor Name                                Amount       Portion?        Claim Amount               Amount              Amount                 Claim Amount
              11   12/21/2022 Rider Hotel, LLC 22-10522 A1 Services, Inc                                                              $322.52   FALSE                                                                                             $322.52
              17   03/07/2023 Rider Hotel, LLC 22-10522 A1 Services, Inc                                                              $322.52   FALSE                                                                                             $322.52
              12   12/27/2022 Rider Hotel, LLC 22-10522 Aggie's Bakery and Cake Shop                                                  $205.50   FALSE                                                                                             $205.50
              14   02/23/2023 Rider Hotel, LLC 22-10522 Aggie's Bakery and Cake Shop                                                  $119.40   FALSE                                                                                             $119.40
              15   02/26/2023 Rider Hotel, LLC 22-10522 Cade Law Group LLC                                                        $113,257.83   FALSE                                                                                        $113,257.83
               6   09/12/2022 Rider Hotel, LLC 22-10522 Clark Hill PLC                                                             $38,887.15   FALSE                                                                                          $38,887.15
               1   08/17/2022 Rider Hotel, LLC 22-10522 Customer Direct, LLC                                                        $5,187.70   FALSE                                                                                           $5,187.70
              10   11/28/2022 Rider Hotel, LLC 22-10522 Digi Mac Solution, Inc                                                      $1,242.25   FALSE                                                                                           $1,242.25
              28   05/12/2023 Rider Hotel, LLC 22-10522 Digi Mac Solution, Inc                                                      $1,242.25   FALSE                                                                                           $1,242.25
              22   03/31/2023 Rider Hotel, LLC 22-10522 Dixon Development, LLC                                                          $0.00    TRUE                                                                                          Unliquidated
               2   08/25/2022 Rider Hotel, LLC 22-10522 Global Water Technology [Lakeland Chemical Specialties Inc]                   $195.52   FALSE                                                                                             $195.52
               7   09/26/2022 Rider Hotel, LLC 22-10522 Helm Service                                                                $1,228.00   FALSE                                                                                           $1,228.00
    2407644   27   04/13/2023 Rider Hotel, LLC 22-10522 John Brister                                                                    $0.00    TRUE                                                                                                 Blank
    2407659   26   04/10/2023 Rider Hotel, LLC 22-10522 John Brister JR                                                                 $0.00    TRUE                                                                                                 Blank
              20   03/31/2023 Rider Hotel, LLC 22-10522 Michael Weiss                                                              $67,954.45    TRUE                                                                                 67954.45 unliquidated
               9   10/21/2022 Rider Hotel, LLC 22-10522 Milwaukee Draft Works LLC                                                   $1,395.24   FALSE                                                                                           $1,395.24
              19   03/28/2023 Rider Hotel, LLC 22-10522 Oracle America, Inc. SII to MICROS Systems, Inc. and Nor1 ("Oracle")        $4,762.49   FALSE                                                                                           $4,762.49
              23   03/31/2023 Rider Hotel, LLC 22-10522 P.A. Management LLC                                                       $128,271.00    TRUE                                                                                 128271 +Unliquidated
              13   01/30/2023 Rider Hotel, LLC 22-10522 Palo Foods, Inc. [Palo Popcorn]                                               $339.60   FALSE                                                                                             $339.60
              16   03/07/2023 Rider Hotel, LLC 22-10522 Paul J. Haussman d/b/a Light Ideas [Marie L. Haussman]                        $675.84   FALSE                                                                                             $675.84
               5   09/01/2022 Rider Hotel, LLC 22-10522 Paul J. Haussman d/b/a Light Ideas [Marie L. Haussman]                        $675.84   FALSE                                                                                             $675.84
              24   03/31/2023 Rider Hotel, LLC 22-10522 Rider Hotel Mezzanine LLC                                                 $183,294.00    TRUE                                                                                   183294 unliquidated
              18   03/27/2023 Rider Hotel, LLC 22-10522 RSS GSMS2015-GC28-WI RH, LLC                                           $24,060,760.27    TRUE                24060760.27 plus undetermined amounts                                   undetermined
               4   08/29/2022 Rider Hotel, LLC 22-10522 Sonifi Solutions, Inc.                                                        $655.48   FALSE                                                                                             $655.48
    2407721   25   04/10/2023 Rider Hotel, LLC 22-10522 Stefon Brister                                                                  $0.00    TRUE                                                                                                 Blank
               3   08/29/2022 Rider Hotel, LLC 22-10522 Sysco Corp.                                                                $11,618.98   FALSE                                                                                          $11,618.98
              21   03/31/2023 Rider Hotel, LLC 22-10522 Timothy Dixon                                                                   $0.00    TRUE                                                                                          Unliquidated
               8   10/10/2022 Rider Hotel, LLC 22-10522 Wisconsin Backflow Testing LLC                                                $827.75   FALSE                                                                                             $827.75




In re: Rider Hotel, LLC
Case Number: 22‐10522 (JTD)                                                                                                                                                                                                                         Page 1 of 1
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               9   10/21/2022 Rider Hotel, LLC 22-10522 Milwaukee Draft Works LLC                                                   $1,395.24   FALSE                                                                                           $1,395.24
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              11   12/21/2022 Rider Hotel, LLC 22-10522 A1 Services, Inc                                                              $322.52   FALSE                                                                                             $322.52
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    2407644   27   04/13/2023 Rider Hotel, LLC 22-10522 John Brister                                                                    $0.00    TRUE                                                                                                 Blank
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In re: Rider Hotel, LLC
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